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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA


                          Alexandria Division




UNITED STATES OF AMERICA




                                        Criminal No. l:ll-cr-188
V.                                      Civil No. l:16-cv-716


DELANTE T. COOK,

     Defendant/Petitioner



                           Memorandum Opinion

     THIS MATTER comes before the Court on Petitioner Delante T.


Cook's ("Petitioner") Motion to Vacate his Conviction for Count

III pursuant to 28 U.S.C. § 2255 (Dkt. 72); the Government's

First Motion to Dismiss (Dkt. 74); and the Government's Second

Motion to Dismiss (Dkt. 82).

     Petitioner was alleged to have been part of a conspiracy to

rob marijuana dealers of their drugs and cash proceeds from

related sales in violation of the Hobbs Act. It was further


alleged that Petitioner and his co-conspirators surveilled the

dealers for two days prior to the robbery, and that when the

robbery occurred. Petitioner and his co-conspirators were

dressed in clothing associated with law enforcement.

     On November 19, 2008, when Petitioner and his co-

conspirators arrived to commit the robbery, they were armed with
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